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  5
  6                        UNITED STATES DISTRICT COURT
  7                      CENTRAL DISTRICT OF CALIFORNIA
  8
       M.M.G., a minor, by and through          CASE No.:
  9    guardian ad litem James K. Sadigh;
       and MARK GOULD, individually,            PLAINTIFFS’ COMPLAINT FOR
 10
                                                DAMAGES
 11                 Plaintiff,
                                                  1. 42 U.S.C. § 1983 (Freedom of
 12                                                   Assembly, Freedom of Speech,
             v.
 13                                                   Retaliation)
                                                  2. Unreasonable Search and
       CITY OF LOS ANGELES; and DOES                  Seizure—Detention and Arrest (42
 14
       1-10, inclusive,                               U.S.C. § 1983)
 15                                               3. 42 U.S.C. § 1983 (Unreasonable
                    Defendants.                       Search and Seizure – Excessive
 16
                                                      Force)
 17                                               4. 42 U.S.C. § 1983 (Municipal
 18                                                   Liability – Unconstitutional
                                                      Custom, Practice, or Policy)
 19                                               5. 42 U.S.C. § 1983 (Municipal
 20                                                   Liability – Failure to Train)
                                                  6. 42 U.S.C. § 1983 (Municipal
 21                                                   Liability – Ratification)
 22                                               7. Battery
                                                  8. Negligence
 23                                               9. Violation of the Bane Act
 24                                               10. Negligence – Bystander

 25                                             DEMAND FOR JURY TRIAL
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 27   ///

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                                  COMPLAINT FOR DAMAGES
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  1                           COMPLAINT FOR DAMAGES
  2         COMES NOW, Plaintiffs M.M.G., a minor, by and through her guardian ad
  3   litem James K. Sadigh; and MARK GOULD, individually, for their Complaint
  4   against CITY OF LOS ANGELES; and DOES 1-10, inclusive, and hereby allege
  5   as follows:
  6
  7                                 INTRODUCTION
  8         1.      This civil rights action arises out of the use of excessive and
  9   unreasonable force against peaceful protestors, including PLAINTIFF
 10   M.M.G., who gathered across the nation following the murder of George Floyd
 11   by Minneapolis Police Department officers. Millions of people protested the
 12   killing of black and brown men and women by law enforcement officers,
 13   which were thereafter ratified by municipalities.       Over several days of
 14   peaceful protest, the Los Angeles Police Department (“LAPD”) prevented, by
 15   use of excessive and unreasonable force, thousands of people from exercising
 16   their Constitutional right to peacefully protest against police violence.
 17         2.      LAPD officers, including the DEFENDANT officers, prevented
 18   PLAINTIFFS’ freedom of assembly, freedom of speech and petition through
 19   the use of indiscriminately using batons to hit and beat those in attendance.
 20   PLAINTIFF GOULD was struck multiple times by said batons, even after
 21   falling injured to the ground. PLAINTIFF M.M.G. witnessed the excessive
 22   use of force against her father, PLAINTIFF GOULD. The force used and the
 23   damage caused is strong evidence that the LAPD training in the use of “less-
 24   lethal” weapons which are capable of causing serious bodily injury and even
 25   death is wholly inadequate and demonstrates the Defendant CITY’S deliberate
 26   indifference to the rights of the citizens of Los Angeles, including PLAINTIFF
 27   GOULD.
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  1         3.    Over the course of the last several decades, the Defendant CITY
  2   has been repeatedly sued for many of the same tactics challenged herein,
  3   including the excessive use of “less-lethal” weapons such as tasers, batons,
  4   and rubber bullets. A jury has previously found that the training policies of
  5   the Defendant CITY regarding the use of less lethal weapons, there the taser,
  6   were not adequate and that the Defendant CITY was deliberately indifferent
  7   to the known and obvious consequences of its failure to train its officers
  8   adequately. See Mears v. City of Los Angeles, CV-15-08441-JAK (AJWx).
  9         4.    On May 30, 2020, peaceful protests began in the area of Third and
 10   Fairfax Streets in Los Angeles, California.       During this peaceful protest,
 11   LAPD officers used excessive and unreasonable force against PLAINTIFF
 12   GOULD causing him injury. This civil rights action seeks compensatory and
 13   punitive damages from DEFENDANTS for violating various rights under the
 14   United States Constitution in connection with the use of excessive and
 15   unreasonable force.
 16         5.    DEFENDANT DOE OFFICERS caused PLAINTIFF GOULD’S
 17   injuries by repeatedly striking PLAINTIFF GOULD with a police baton, while
 18   PLAINTIFF was merely arriving at the peaceful protest to pick up his minor
 19   daughter, M.M.G., who was sixteen years old at the time and was a witness to
 20   the excessive use of force against her father, PLAINTIFF GOULD.
 21         6.    DOES 1-8, inclusive, (“DOE OFFICERS”) caused various injuries
 22   herein by integrally participating or failing to intervene in the incident, and by
 23   engaging in other acts and/or omissions around the time of the incident.
 24         7.    Defendants CITY OF LOS ANGELES and DOES 9-10, inclusive,
 25   also caused various injuries and are liable under federal law and under the
 26   principles set forth in Monell v. Department of Social Services, 436 U.S. 658
 27   (1978).
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  1         8.    This action is in the public interest as PLAINTIFFS seek by means
  2   of this civil rights action to hold accountable those responsible for the use of
  3   excessive force and the bodily injury inflicted by DEFENDANT DOE
  4   OFFICERS, including the CITY OF LOS ANGELES’ ratification, failure to
  5   train, and policy of inaction in the face of serious constitutional violations, as
  6   well as the unlawful custom and practice with respect to the use of force
  7   against peaceful protestors.
  8
  9                                    THE PARTIES
 10         9.    At all relevant times, Plaintiff Mark Gould (“GOULD”) was an
 11   individual residing in Los Angeles County, California.
 12         10.   Plaintiff M.M.G., a minor, is an individual residing in Los
 13   Angeles, California and is the natural daughter of PLAINTIFF GOULD.
 14   M.M.G. sues in her individual capacity, by and through her Guardian ad litem
 15   James K. Sadigh, and seeks damages under federal and state law.
 16         11.   DEFENDANT CITY OF LOS ANGELES (“CITY”) is a political
 17   subdivision of the State of California that is within this judicial district. CITY
 18   is responsible for the actions, omissions, policies, procedures, practices, and
 19   customs of its various agents and agencies, including the CITY OF LOS
 20   ANGELES POLICE DEPARTMENT (“LAPD”) and its agents and employees.
 21   At all relevant times, DEFENDANT CITY was responsible for assuring that
 22   actions, omissions, policies, procedures, practices, and customs of the CITY,
 23   LAPD, and its employees and agents complied with the laws of the United
 24   States and the State of California.      At all relevant times, CITY was the
 25   employer of DEFENDANT DOES 1-10.
 26         12.   DEFENDANTS DOES 1-8 (“DOE OFFICERS”), inclusive, are
 27   officers for the LAPD. At all relevant times, these DEFENDANTS were
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  1   acting under color of law within the course and scope of their duties as CITY
  2   LAPD officers. At all relevant times, DEFENDANT DOES 1-8, were acting
  3   with the complete authority and ratification of their principal, DEFENDANT
  4   CITY.
  5         13.   Defendants     DOES      9-10    (“DOE     SUPERVISORS”),         are
  6   managerial, supervisorial, or policymaking employees of the CITY who were
  7   acting under color of law within the course and scope of their duties as
  8   supervisorial officers for the LAPD.        DOES 9-10, were acting with the
  9   complete authority of their principal, DEFENDANT CITY.
 10         14.   PLAINTIFFS are ignorant of the true names and capacities of
 11   DEFENDANTS DOES 1-10, and therefore sues these defendants by such
 12   fictitious names. PLAINTIFFS will amend the complaint to allege the true
 13   names and capacities of those defendants when the same has been ascertained.
 14   PLAINTIFFS are informed and believe, and on that basis allege, that DOES
 15   1-10, and each of them, are responsible in some manner for the occurrences
 16   alleged herein and proximately caused PLAINTIFFS’ damages.
 17         15.   On information and belief, DOES 1-10, were at all relevant times
 18   residents of the County of Los Angeles.
 19         16.   PLAINTIFFS are informed and believe, and on that basis allege,
 20   that DEFENDANTS acted at all times mentioned herein as the actual and/or
 21   ostensible agents, employees, servants or representatives of each other and, in
 22   doing the activities alleged herein, acted within the scope of their authority as
 23   agents and employees, and with the permission and consent of each other.
 24         17.   PLAINTIFFS are informed and believe, and on that basis allege,
 25   that at all times mentioned herein all DEFENDANTS acted under color of law,
 26   statute, ordinance, regulations, customs and usages of the State of California
 27   and the CITY.
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  1         18.   All DEFENDANTS who are natural persons, including DOES 1-
  2   10, are sued individually and/or in his/her capacity as officers, deputies,
  3   investigators, sergeants, captains, commanders, supervisors, and/ or civilian
  4   employees, agents, policy makers, and representatives of the CITY and the
  5   LAPD.
  6         19.   PLAINTIFF GOULD suffered serious bodily injury as a direct and
  7   proximate result of the actions of DEFENDANT DOES 1-10. PLAINTIFF
  8   M.M.G. was present and aware as DOES 1-8 inflicted said injury upon her
  9   father, PLAINTIFF GOULD and suffered mental and emotional harm as a
 10   direct and proximate result of DEFENDANT DOES 1-10’S actions.
 11   DEFENDANT DOES 1-10 are directly liable for PLAINTIFFS’ injuries under
 12   federal law pursuant to 42 U.S.C. § 1983.
 13
 14                           JURISDICTION AND VENUE
 15         20.   The Court has jurisdiction over PLAINTIFFS’ claims pursuant to
 16   28 U.S.C. §§ 1331 and 1343(a)(3)-(4) because PLAINTIFFS assert claims
 17   arising under the laws of the United States including 42 U.S.C. § 1983 and the
 18   Fourth Amendment of the United States Constitution.
 19         21.   This Court has supplemental jurisdiction over PLAINTIFFS’
 20   claims arising under state law pursuant to 28 U.S.C. § 1367(a), because those
 21   claims are so related to the federal claims that they form part of the same case
 22   or controversy under Article III of the United States Constitution.
 23         22.   Venue in this judicial district is proper pursuant to 28 U.S.C.
 24   § 1391(b), because all incidents, events, and occurrences giving rise to this
 25   action occurred within this district.
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 27   ///
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                                   COMPLAINT FOR DAMAGES
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  1               FACTS COMMON TO ALL CLAIMS FOR RELIEF
  2         23.   PLAINTIFFS repeat and re-allege each and every allegation of
  3   paragraphs 1 through 22, inclusive, as if fully set forth herein.
  4         24.   PLAINTIFF GOULD sustained injuries, including but not limited
  5   to pain and suffering when DEFENDANT DOES 1-8 struck PLAINTIFF
  6   GOULD multiple times with a hard rubber baton, striking him on the legs
  7   numerous times, even after he fell to the ground as a result of the blows.
  8         25.   On May 30, 2020, PLAINTIFF M.M.G., along with many other
  9   citizens of the City of Los Angeles, were peacefully protesting the use of
 10   excessive and unreasonable force by law enforcement officers against citizens
 11   of the City of Los Angeles as well as citizens of the United States of America,
 12   especially when the citizens are minorities. PLAINTIFF M.M.G. lawfully
 13   gathered with like-minded individuals to peacefully protest during daylight
 14   hours, and on information and belief the facts giving rise to PLAINTIFFS’
 15   claims took place prior to any curfew issued by the CITY.
 16         26.   At all relevant times, neither PLAINTIFFS were resisting officers
 17   or threatening any person or officer. PLAINTIFF M.M.G. was merely a
 18   participant in the peaceful protests that followed the death of George Floyd.
 19   George Floyd was a black man who was handcuffed and died after he was
 20   pinned to the ground under the knee of a white Minneapolis police officer,
 21   which was captured on camera. Hundreds of thousands of individuals took to
 22   the streets across the country in a display of unity against the unlawful and
 23   unconscionable acts of police brutality and excessive force, which
 24   disproportionately affect minority groups.
 25         27.   At or around the cross streets of Fairfax and Third, in Los Angeles,
 26   California, PLAINTIFF GOULD arrived to pick up his daughter, M.M.G. from
 27   the peaceful protest. LAPD officers had already arrived and gathered around
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  1   the peaceful protestors, including where PLAINTIFFS M.M.G. and GOULD
  2   were standing.
  3         28.   At all relevant times, LAPD never advised PLAINTIFFS or the
  4   peaceful gathering that such a gathering was unlawful.
  5         29.   At the time of their arrival at or near the intersection of Fairfax
  6   and Third Streets in downtown Los Angeles, the LAPD officers, including
  7   DEFENDANT DOES 1-8 began instructing the peaceful protesters to back up,
  8   but immediately as they were instructing them to back up, DEFENDANT
  9   DOES 1-8 began quickly advancing, batons raised, and striking PLAINTIFF
 10   GOULD. PLAINTIFFS and other peaceful protestors were in the process of
 11   complying with DEFENDANT DOES 1-8’s requests, and PLAINTIFF
 12   GOULD was taking steps backwards, with his hands raised.
 13         30.   As DEFENDANT DOES 1-8 continued to press their assault line
 14   forward, at least two male LAPD officers advanced more quickly and began
 15   using their batons against PLAINTIFF GOULD, without justification and
 16   striking him numerous times, causing injuries to his legs.        PLAINTIFF
 17   GOULD fell to the ground in severe pain, but DEFENDANT DOES 1-8
 18   continued to strike him.
 19         31.   PLAINTIFF M.M.G. was present at the scene and witnessed the
 20   excessive and negligent use of force by DEFENDANT DOES 1-8 against her
 21   father, PLAINTIFF GOULD and had a contemporaneous awareness that her
 22   father was being injured. As a result, PLAINTIFF M.M.G. suffered severe
 23   emotional distress.
 24         32.   On information and belief, no warnings were issued prior to the
 25   use of the batons upon the peaceful protesters, including upon PLAINTIFF
 26   GOULD.
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  1         33.   PLAINTIFF GOULD was subjected to an unreasonable seizure of
  2   his person, unreasonable and excessive force, including deadly force, inflicted
  3   through the unreasonable and excessive deployment of the hard rubber batons,
  4   which caused PLAINTIFF GOULD to experience severe and debilitating
  5   injuries.
  6         34.   From the first moment PLAINTIFF GOULD heard officers’
  7   commands for the protesters to back up, he complied and never made any
  8   movement or indication of any kind that he intended not to comply. Neither
  9   PLAINTIFF M.M.G. nor PLAINTIFF GOULD were combative or assaultive
 10   towards officers in any way.
 11         35.   As a result of the repeated impact, PLAINTIFF GOULD
 12   experienced serious bodily injury, including severe injuries to his legs,
 13   including bruising and swelling, which resulted in severe pain and required
 14   PLAINTIFF GOULD to seek medical attention.
 15         36.   The use of force was excessive and objectively unreasonable
 16   under the circumstances, especially because PLAINTIFFS did not pose an
 17   immediate threat of death or serious bodily injury to anyone at the time of the
 18   excessive use of force against PLAINTIFF GOULD. Moreover, PLAINTIFF
 19   GOULD had his hands raised above his head in an effort to comply and/or
 20   show his willingness to comply.
 21         37.   On October 12, 2020, PLAINTIFFS filed a comprehensive and
 22   timely claim for damages with the City of Los Angeles pursuant to applicable
 23   sections of the California Government Code.
 24         38.   On November 9, 2020, the CITY rejected PLAINTIFF M.M.G.’S
 25   claims.
 26         39.   On February 3, 2021, the CITY rejected PLAINTIFF GOULD’S
 27   claims.
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   1         40.   PLAINTIFF GOULD seeks damages for past and future pain and
   2   suffering including: impairment, emotional distress, mental anguish,
   3   embarrassment; past and future medical expenses, lost profits, past and future
   4   lost wages.     PLAINTIFF M.M.G. PLAINTIFFS also seeks reasonable
   5   attorneys’ fees and costs.
   6
   7                           FIRST CLAIM FOR RELIEF
        First Amendment – Freedom of Speech, Freedom of Assembly, Retaliation
   8
                                      (42 U.S.C. § 1983)
   9
                        (By PLAINTIFFS against DOES 1-8, inclusive)
  10
             41.   PLAINTIFFS repeat and re-allege each and every allegation of
  11
       paragraphs 1 through 40, inclusive, as if fully set forth herein.
  12
             42.   The First Amendment of the United States Constitution, as applied
  13
       to State Actors by the Fourteenth Amendment, provides the right of every
  14
       person to have freedom of speech, assembly, and the right to petition the
  15
       Government, and protects against retaliation when a person is engaged in these
  16
       constitutionally protected activities.
  17
             43.   DEFENDANT DOES 1-8 were acting under color of state law and
  18
       within the course and scope of their employment as law enforcement officers
  19
       for the CITY.
  20
             44.   Under the First Amendment of the United States Constitution,
  21
       PLAINTIFFS had the right to peaceably assemble, speak, and petition the
  22
       Government regarding the CITY’S use of excessive and unreasonable force.
  23
             45.   Given the historical importance of public protests, the First
  24
       Amendment singles out this particular form of expressive conduct for explicit
  25
       constitutional protection, especially for nonviolent assemblies.          The
  26
       DEFENDANTS violated PLAINTIFFS’ rights by preventing their exercise of
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   1   their First Amendment rights through the use of excessive and unreasonable
   2   force, and without appropriate accommodation, during a peaceful protest.
   3         46.   At the time of the incident, PLAINTIFFS were engaged in the
   4   exercise of their constitutional rights to assemble, petition, and speak on
   5   matters such as police brutality and the use of excessive force by law
   6   enforcement, especially as applied to minorities.
   7         47.   DEFENDANT DOES 1-8 deprived PLAINTIFFS of exercising
   8   their constitutional rights to peaceably assemble, speak, and petition under the
   9   First Amendment to the Constitution when PLAINTIFFS were met during a
  10   peaceful protest by an assault line of police officers that advanced and used
  11   less than lethal force against them - even though they were not resisting and
  12   were not a threat of harm to any person or officer. PLAINTIFF GOULD
  13   suffered injuries to his legs from repeated blows from police batons, and
  14   PLAINTIFF M.M.G. was present at the scene and witnessed the excessive and
  15   negligent use of force by DEFENDANT DOES 1-8 against her father,
  16   PLAINTIFF GOULD and had a contemporaneous awareness that her father
  17   was being injured.
  18         48.    The actions of DEFENDANT DOES 1-8 against PLAINTIFFS
  19   would have a chilling effect on a person of ordinary sensibilities from
  20   continuing to engage in the protected activities of peacefully assembling,
  21   petitioning, and speaking because of the threat of serious bodily injury, pain,
  22   and impairment if a person were to exercise their rights.
  23         49.   DEFENDANT DOES 1-8 caused various injuries as mentioned
  24   herein by integrally participating or failing to intervene in the incident, and by
  25   engaging in other acts and/or omissions around the time of the incident.
  26   DEFENDANTS’ acts and omissions deprived PLAINTIFFS of their rights to
  27   peacefully assemble, speak, and petition as guaranteed to PLAINTIFFS under
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   1   the First Amendment of the United States Constitution and applied to state
   2   actors by the Fourteenth Amendment.
   3         50.   As a direct result of the aforesaid acts and omissions of DOES 1-
   4   8, PLAINTIFFS suffered great physical and mental injury, as well as fear and
   5   emotional distress related to her physical injuries from the incident.
   6         51.   The conduct of DEFENDANTS DOES 1-8 alleged above was
   7   willful, wanton, malicious, and done with reckless disregard for the rights and
   8   safety of PLAINTIFFS and warrants the imposition of exemplary and punitive
   9   damages in an amount according to proof.
  10         52.   PLAINTIFFS seek damages for past and future pain and suffering
  11   including: impairment, emotional distress, mental anguish, embarrassment,
  12   loss of quality of life, past and future medical expenses, lost profits, past and
  13   future lost wages, and loss of earning capacity under this claim. PLAINTIFFS
  14   also seek reasonable attorneys’ fees and costs under this claim.
  15
  16                      SECOND CLAIM FOR RELIEF
  17   Unreasonable Search and Seizure—Detention and Arrest (42 U.S.C. § 1983)

  18                    (By PLAINTIFFS against DOES 1-8, inclusive)

  19         53.   PLAINTIFFS repeat and re-allege each and every allegation in
  20   paragraphs 1 through 52 of their Complaint with the same force and effect as if
  21   fully set forth herein.
  22          54. DEFENDANTS DOES 1-8 detained PLAINTIFFS without

  23   reasonable suspicion and arrested them without probable cause.

  24         55.   When DEFENDANTS DOES 1-8 used their police batons repeatedly

  25   against PLAINTIFF GOULD, while PLAINTIFF M.M.G. was on scene, watcing,

  26   and contemporaneously aware of the use of force against her father, PLAINTIFF

  27   GOULD, they violated PLAINTIFFS’ rights to be secure in their persons against

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   1   unreasonable searches and seizures as guaranteed to PLAINTIFFS under the

   2   Fourth Amendment to the United States Constitution and applied to state actors by

   3   the Fourteenth Amendment.

   4         56.     The conduct of DEFENDANTS DOES 1-8 was willful, wanton,

   5   malicious, and done with reckless disregard for the rights and safety of

   6   PLAINTIFFS and therefore warrants the imposition of exemplary and punitive

   7   damages as to DEFENDANTS DOES 1-8.

   8         57.     As a result of their misconduct, DEFENDANTS DOES 1-8 are liable

   9   for PLAINTIFFS’ injuries, either because they were integral participants in the

  10   wrongful detention and arrest, or because they failed to intervene to prevent these

  11   violations.

  12         58.     PLAINTIFFS bring this claim and seek damages for the violation of

  13   their rights. PLAINTIFFS further seek attorney’s fees and costs under this claim.

  14
  15                             THIRD CLAIM FOR RELIEF

  16       Unreasonable Search and Seizure – Excessive Force (42 U.S.C. § 1983)

  17                 (By PLAINTIFF GOULD against DOES 1-8, inclusive)

  18         59.     PLAINTIFFS repeat and re-allege each and every allegation of

  19   paragraphs 1 through 58, inclusive, as if fully set forth herein.

  20         60.     The Fourth Amendment of the United States Constitution, as applied

  21   to State Actors by the Fourteenth Amendment, provides the right of every person

  22   to be free from the use of excessive force by police officers.

  23         61.     When DEFENDANTS DOES 1-8, arrived at or about the intersection

  24   of Fairfax and Third Streets in downtown Los Angeles, PLAINTIFFS were not

  25   threatening any person at the time, and PLAINTIFFS, including PLAINTIFF

  26   GOULD never verbally threated any person, including DEFENDANTS.

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   1   PLAINTIFFS were participating in a peaceful protest in the wake of the death of
   2   George Floyd.
   3         62.    PLAINTIFF GOULD never threatened anyone, made no aggressive
   4   movements toward anyone, made no furtive gestures, and no physical movements
   5   that would reasonably suggest to the DEFENDANT DOES 1-8 that PLAINTIFF
   6   GOULD was attempting, willing, or intending to inflict harm to anyone.
   7   PLAINTIFF GOULD followed commands by DEFENDANT DOES 1-8 for the
   8   protesters to back up, and raised his hands. DEFENDANT DOES 1-8 began
   9   using their batons and firing hard rubber baton projectiles, without justification,
  10   on the peaceful protestors. DEFENDANT DOES 1-8 aimed and swung their
  11   batons at PLAINTIFF GOULD, striking him repeatedly with the batons, even
  12   after PLAINTIFF GOULD fell to the ground in pain, which was a show of force
  13   sufficient to effectuate a seizure of PLAINTIFF GOULD.
  14         63.    Throughout the incident, PLAINTIFFS, including PLAINTIFF
  15   GOULD presented no immediate threat to the safety of the officers or others, and
  16   was not an immediate threat of death or serious bodily injury to any officer or
  17   other person.
  18         64.    DEFENDANT DOES 1-8 caused various injuries as mentioned
  19   herein by integrally participating or failing to intervene in the incident, and by
  20   engaging in other acts and/or omissions around the time of the incident.
  21   DEFENDANTS’ acts and omissions deprived PLAINTIFF GOULD of his right to
  22   be secure in his person against unreasonable searches and seizures as guaranteed
  23   to PLAINTIFF GOULD under the Fourth Amendment to the United States
  24   Constitution and applied to state actors by the Fourteenth Amendment.
  25         65.    As a direct result of the aforesaid acts and omissions of DOES 1-8,
  26   PLAINTIFF GOULD suffered great physical and mental injury, as well as fear
  27   and emotional distress related to his physical injuries.
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   1         66.    The conduct of DEFENDANT DOES 1-8 alleged above was willful,
   2   wanton, malicious, and done with reckless disregard for the rights and safety of
   3   PLAINTIFF GOULD and warrants the imposition of exemplary and punitive
   4   damages in an amount according to proof.
   5         67.    DEFENDANT DOES 1-8 were acting under color of state law and
   6   within the course and scope of their employment as law enforcement officers for
   7   the CITY.
   8         68.    PLAINTIFF GOULD seeks damages for his past and future pain and
   9   suffering including: impairment, emotional distress, mental anguish,
  10   embarrassment, past and future medical expenses under this claim. PLAINTIFF
  11   GOULD also seeks reasonable attorneys’ fees and costs under this claim.
  12
  13                           FOURTH CLAIM FOR RELIEF
  14   Municipal Liability – Unconstitutional Custom, Practice, or Policy (42 U.S.C.
  15                                          § 1983)
  16               (By PLAINTIFFS against CITY; and DOES 9-10, inclusive)
  17         69.    PLAINTIFFS repeat and re-allege each and every allegation of
  18   paragraphs 1 through 68, inclusive, as if fully set forth herein.
  19         70.    DEFENDANTS DOES 1-8, inclusive, acted under color of state law.
  20         71.    DEFENDANTS DOES 1-8, inclusive, acted pursuant to an expressly
  21   adopted or fiscal policy or longstanding practice or custom of the DEFENDANT
  22   CITY, and DOES 9-10.
  23         72.    On information and belief, DEFENDANTS DOES 1-8, were not
  24   disciplined, reprimanded, retrained, suspended, or otherwise penalized in
  25   connection with deprivation of PLAINTIFFS’ rights.
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                                      COMPLAINT FOR DAMAGES
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   1         73.    DEFENDANTS CITY, and DOES 9-10, together with other CITY
   2   policymakers and supervisors, maintained, inter alia, the following
   3   unconstitutional customs, practices, and policies:
   4                (a)   The CITY routinely fails to train its officers in the
   5                constitutional responses to peaceful demonstrations.
   6                (b)   Using excessive and unreasonable force, including deadly
   7                force on unarmed persons who do not pose a risk of imminent
   8                death or serious bodily injury to others.
   9                (c)   Providing inadequate training regarding the use of force,
  10                including the use of less lethal force, including batons, baton
  11                projectiles, and deadly force.
  12                (d)   Employing and retaining as police officers, individuals such
  13                as DEFENDANTS DOES 1-8, who DEFENDANT CITY, and
  14                DOES 9-10, at all times material herein, knew or reasonably
  15                should have known had dangerous propensities for abusing their
  16                authority and for using excessive force.
  17                (e)   Inadequately supervising, training, controlling, assigning,
  18                and disciplining CITY law enforcement officers, and other
  19                personnel, including DEFENDANTS DOES 1-8, who CITY knew
  20                or in the exercise of reasonable care should have known, had the
  21                aforementioned propensities or character traits.
  22                (f)   Maintaining grossly inadequate procedures for reporting,
  23                supervising, investigating, reviewing, disciplining and controlling
  24                misconduct by law enforcement officers of the CITY.
  25                (g)   Failing to adequately discipline CITY law enforcement
  26                officers for the above-mentioned categories of misconduct,
  27                including inadequate discipline and “slaps on the wrist,”
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                                     COMPLAINT FOR DAMAGES
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   1                  discipline that is so slight as to be out of proportion with the
   2                  magnitude of the misconduct, and other inadequate discipline that
   3                  is tantamount to encouraging misconduct.
   4                  (h)     Encouraging, accommodating, or facilitating a “blue code
   5                  of silence,” “blue shield,” “blue wall,” “blue curtain,” “blue veil,”
   6                  or simply “code of silence,” pursuant to which officers do not
   7                  report other officers’ errors, misconduct, or crimes. Pursuant to
   8                  this code of silence, if questioned about an incident of misconduct
   9                  involving another officer, while following the code, the officer
  10                  being questioned will claim ignorance of the other officer’s
  11                  wrongdoing.
  12          74.     Additional and supporting evidence of the maintenance of
  13   unconstitutional customs, practices, or policies of DEFENDANT CITY can be
  14   found in a report commissioned by the City of Los Angeles and conducted by an
  15   Independent Counsel, released on or about March 11, 2021 (hereinafter,
  16   “Report”).1 The March 11, 2021 Report evaluates the late May 2020 and early
  17   June 2020 protests in Downtown Los Angeles and the LAPD’S handling of said
  18   protests. The Report indicates hundreds of injuries and alleged violations of rights
  19   by the LAPD officers occurred during protests such as the one participated in by
  20   PLAINTIFFS on May 30, 2020. The Report indicated among other things, a lack
  21   of training to properly prepare officers for managing large crowds. Further, the
  22   Report noted a lack of training on less than lethal force, and when it can and
  23   should be used in large crowds or gatherings. It noted many of the reported
  24   injuries were from less than lethal uses of force and indicated the appropriateness
  25   of use of police batons was unable to be determined. At the time of injury these
  26   1
         See Gerald Chaleff, AN INDEPENDENT EXAMINATION OF THE LOS ANGELES POLICE DEPARTMENT 2020 PROTEST
  27   RESPONSE (March 11, 2021), https://int.nyt.com/data/documenttools/lapd-george-floyd-protests-
       report/ec6b2bf2056f6727/full.pdf (last visited March 30, 2021).
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                                           COMPLAINT FOR DAMAGES
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   1   individuals had been involved in peaceful protests, were unthreatening, and many
   2   had their hands raised, and thereby not involved in any violent or hostile acts.
   3   Moreover, the Report indicated that there have been similar studies, findings, and
   4   legal actions in similar prior incidents with the LAPD over the years in regards to
   5   peaceful protests and the excessive and unreasonable use of force, including less
   6   lethal force, such as in 2000, 2007, 2011, and 2014.
   7         75.    DEFENDANT CITY has been made aware of its duties under the
   8   Constitution under several prior settlement agreements and consent judgements
   9   which identified unlawful customs, practices, and policies relating to the unlawful
  10   uses of force against those who are lawfully assembled, as well as clearly
  11   established deficiencies in DEFENDANT CITY’S training of its LAPD officers in
  12   regards to the use of force in relation to protests. See National Lawyers Guild v.
  13   City of Los Angeles, CV 01-6877 FMC (CWx); see also Multi-Ethnic Immigrant
  14   Workers Organizing Network, et al. v. City of Los Angeles, et al., 2009 WL
  15   1043788 (C.D.Cal.); Case No.: CV 07-3072 AHM (FMMx).
  16         76.    By reason of the aforementioned acts and omissions, PLAINTIFFS
  17   have endured substantial pain and suffering.
  18         77.    DEFENDANTS CITY and DOES 9-10, together with various other
  19   officials, whether named or unnamed, had either actual or constructive knowledge
  20   of the deficient policies, practices and customs alleged herein. Despite having
  21   knowledge as stated above, these DEFENDANTS condoned, tolerated and
  22   through actions and inactions thereby ratified such policies. Said DEFENDANTS
  23   also acted with deliberate indifference to the foreseeable effects and consequences
  24   of these policies with respect to the constitutional rights of PLAINTIFFS and
  25   other individuals similarly situated.
  26         78.    By perpetrating, sanctioning, tolerating and ratifying the outrageous
  27   conduct and other wrongful acts, DEFENDANTS CITY and DOES 9-10, acted
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                                      COMPLAINT FOR DAMAGES
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   1   with intentional, reckless, and callous disregard for the PLAINTIFFS’
   2   constitutional rights. Furthermore, the policies, practices, and customs
   3   implemented, maintained, and tolerated by DEFENDANTS CITY and DOES 9-
   4   10, were affirmatively linked to and were a significantly influential force behind
   5   PLAINTIFFS’ injuries.
   6         79.    The acts of each of DEFENDANTS DOES 9-10, were willful,
   7   wanton, oppressive, malicious, fraudulent, and extremely offensive and
   8   unconscionable to any person of normal sensibilities, and therefore warrants
   9   imposition of exemplary and punitive damages as to DOES 9-10.
  10         80.    Based on information and belief, the following are examples of cases
  11   where the involved officers were not disciplined, reprimanded, retrained,
  12   suspended, or otherwise penalized in connection with the excessive use of force
  13   and underlying acts giving rise to the below lawsuits, which indicates that the
  14   CITY routinely ratifies such behavior, fails to train its officers, and maintains a
  15   practice of allowing such behavior:
  16                (a)    In Contreras v. City of Los Angeles, case number 2:11-cv-
  17                01480-SVW (SHx), a unanimous jury award for Mr. Contreras after
  18                finding that the involved LAPD officers used excessive and
  19                unreasonable force when they shot Mr. Contreras, who was unarmed.
  20                (b)    In P.C., et al. v. City of Los Angeles, case number CV 07-3413
  21                PLA, a unanimous jury award for plaintiffs after finding that the
  22                involved LAPD officers’ use of deadly force was excessive and
  23                unreasonable.
  24                (c)    In Herrera, et al. v. City of Los Angeles, et al., case number
  25                16-cv-02719-DSF (SHx), a unanimous jury award for plaintiffs
  26                where a LAPD officer used excessive force.
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                                      COMPLAINT FOR DAMAGES
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   1              (d)   In Mears, et al. v. City of Los Angeles, et al., case number
   2              2:15-cv-08441-JAK-AJW, a unanimous jury found Monell liability
   3              on the part of the City for failure to properly train its LAPD officers,
   4              and found that the involved officers’ use of deadly force was
   5              excessive and unreasonable.
   6              (e)   In Hernandez, et al. v. City of Los Angeles, et al., case number
   7              2:16-cv-02689, a unanimous jury found that two LAPD officers used
   8              excessive unreasonable force and restraint against Alex Jimenez, who
   9              was unarmed.
  10              (f)   In L.D., et al. v. City of Los Angeles, case number 2:16-cv-
  11              04626-PSG, a unanimous jury found that officers used excessive and
  12              unreasonable force against Cesar Frias, including the use of tasers
  13              and bean bag shotguns.
  14              (g)   In Navas, et al. v. City of Los Angeles, et al., case number
  15              CV15-09515 SVW(JCx), the City determined that the LAPD
  16              officer’s use of deadly force against Sergio Navas was excessive and
  17              unreasonable and outside City policy.
  18              (h)   In Medina v. City of Los Angeles, case number CV 06-4926-
  19              CBM (Ex), plaintiff alleged that the involved LAPD officers used
  20              excessive and unreasonable force when they kept Mr. Medina (the
  21              decedent) down in a prone position while he was handcuffed and
  22              hobbled and placed weight on his back and pressure on his neck for
  23              an extended period of time. The medical examiner in that case
  24              confirmed that Mr. Medina died as a result of restraint asphyxia. A
  25              unanimous jury returned a verdict in plaintiff’s favor, finding that the
  26              use of force was excessive and unreasonable. In that case, the
  27              involved officers were not disciplined or retrained for their use of
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                                   COMPLAINT FOR DAMAGES
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   1                 force, and the CITY found that the officer’s conduct was justified and
   2                 did not violate any CITY policy.
   3                 (i)    In Cano, et al. v. City of Los Angeles, case number 2:15-cv-
   4                 00333-JAK-E, currently pending in the United States District Court
   5                 for the Central District of California, the family of an unarmed man
   6                 (David Martinez) who was shot and killed by LAPD Rampart
   7                 officers alleges that the force used by the officers was excessive and
   8                 unreasonable. Police reports confirm that Mr. Martinez was unarmed
   9                 at the time of the shooting. In that case, the involved officers were
  10                 not disciplined or retrained for their use of deadly force, and the
  11                 CITY found that the shooting was justified and did not violate any
  12                 CITY policy.
  13         81. Accordingly, DEFENDANTS CITY and DOES 9-10, each are liable
  14   for compensatory damages under 42 U.S.C. § 1983.
  15         82.     PLAINTIFFS seek damages for past and future pain and suffering
  16   including: impairment, emotional distress, mental anguish, embarrassment, past
  17   and future medical expenses under this claim. PLAINTIFFS also seek reasonable
  18   attorneys’ fees and costs under this claim.
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  20                             FIFTH CLAIM FOR RELIEF
  21               Municipal Liability for Failure to Train (42 U.S.C. §1983)
  22             (By PLAINTIFFS against CITY and DOES 9-10, inclusive)
  23         83.     PLAINTIFFS repeat and re-allege each and every allegation in
  24   paragraphs 1 through 82 of this Complaint with the same force and effect as if
  25   fully set forth herein.
  26         84.     DEFENDANTS DOES 1-8, inclusive, acted under color of law.
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                                      COMPLAINT FOR DAMAGES
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   1           85.     The acts of DEFENDANTS DOES 1-8, deprived PLAINTIFFS of
   2   their particular rights under the United States Constitution.
   3           86.     On information and belief, DEFENDANT CITY failed to properly
   4   and adequately train DEFENDANTS DOES 1-8, including but not limited to, with
   5   regard to the constitutional response to peaceful demonstrations and the use of
   6   physical force, less than lethal force, and lethal force.
   7           87.     The training policies of DEFENDANT CITY were not adequate to
   8   train its officers to handle the usual and recurring situations with which they must
   9   deal, including de-escalation techniques, and both the use of less than lethal and
  10   lethal force.
  11           88.     The training that the CITY’S law enforcement officers, including
  12   DEFENDANT DOES 1-8, should have received with regards to the constitutional
  13   responses to peaceful demonstrations, the use of hard rubber baton projectiles and
  14   police batons, especially against an unarmed man, and causing serious injuries,
  15   includes training that officers should not less than lethal force such as their batons
  16   against an unarmed subject who posed no threat of harm to officers or anyone
  17   else.
  18           89.     DEFENDANT CITY and DOES 9-10, were deliberately indifferent
  19   to the obvious consequences of its failure to train its officers adequately.
  20           90.     The failure of DEFENDANT CITY and DOES 9-10, to provide
  21   adequate training caused the deprivation of PLAINTIFFS’ rights by
  22   DEFENDANTS DOES 1-8; that is, DEFENDANTS’ failure to train is so closely
  23   related to the deprivation of PLAINTIFFS’ rights as to be the moving force that
  24   caused the ultimate injury.
  25           91.     The following are only a few examples of cases where the involved
  26   officers were not disciplined, reprimanded, retrained, suspended, or otherwise
  27   penalized in connection with the excessive use of force and underlying acts giving
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                                       COMPLAINT FOR DAMAGES
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   1   rise to the below lawsuits, which indicates that DEFENDANT CITY failed to
   2   adequately train its officers, more specifically the failure to train with regard to the
   3   use of force:
   4                   (a)   In Contreras v. City of Los Angeles, case number 2:11-cv-
   5                   01480-SVW (SHx), a unanimous jury award for Mr. Contreras after
   6                   finding that the involved LAPD officers used excessive and
   7                   unreasonable force when they shot Mr. Contreras, who was unarmed.
   8                   (b)   In P.C., et al. v. City of Los Angeles, case number CV 07-3413
   9                   PLA, a unanimous jury award for plaintiffs after finding that the
  10                   involved LAPD officers’ use of deadly force was excessive and
  11                   unreasonable.
  12                   (c)   In Herrera, et al. v. City of Los Angeles, et al., case number
  13                   16-cv-02719-DSF (SHx), a unanimous jury award for plaintiffs after
  14                   finding that the involved LAPD officer used excessive force against
  15                   Ruben Herrera when he shot him.
  16                   (d)   In Mears, et al. v. City of Los Angeles, et al., case number
  17                   2:15-cv-08441-JAK-AJW, a unanimous jury found Monell liability
  18                   on the part of the City for failure to properly train its LAPD officers,
  19                   and found that the involved officers’ use of deadly force was
  20                   excessive and unreasonable.
  21                   (e)   In Hernandez, et al. v. City of Los Angeles, et al., case number
  22                   2:16-cv-02689, a unanimous jury found that two LAPD officers used
  23                   excessive unreasonable force and restraint against Alex Jimenez, who
  24                   was unarmed.
  25                   (f)   In L.D., et al. v. City of Los Angeles, case number 2:16-cv-
  26                   04626-PSG, a unanimous jury found that certain officers used
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                                        COMPLAINT FOR DAMAGES
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   1              excessive and unreasonable force against Cesar Frias, including for
   2              the use of “less-lethal” weapons.
   3              (g)   In Navas, et al. v. City of Los Angeles, et al., case number
   4              CV15-09515 SVW(JCx), the City determined that the LAPD
   5              officer’s use of deadly force against Sergio Navas was excessive and
   6              unreasonable and outside City policy.
   7              (h)   In Medina v. City of Los Angeles, case number CV 06-4926-
   8              CBM (Ex), Plaintiff alleged that the involved LAPD officers used
   9              excessive and unreasonable force when they kept Mr. Medina (the
  10              decedent) down in a prone position while he was handcuffed and
  11              hobbled and placed weight on his back and pressure on his neck for
  12              an extended period of time. The medical examiner in that case
  13              confirmed that Mr. Medina died as a result of restraint asphyxia. A
  14              unanimous jury returned a verdict in Plaintiff’s favor, finding that the
  15              use of force was excessive and unreasonable. In that case, the
  16              involved officers were not disciplined or retrained for their use of
  17              force, and the CITY found that the officer’s conduct was justified and
  18              did not violate any CITY policy.
  19              (i)   In Cano, et al. v. City of Los Angeles, case number 2:15-cv-
  20              00333-JAK-E, currently pending in the United States District Court
  21              for the Central District of California, the family of an unarmed man
  22              (David Martinez) who was shot and killed by LAPD Rampart
  23              officers alleges that the force used by the officers was excessive and
  24              unreasonable. Police reports confirm that Mr. Martinez was unarmed
  25              at the time of the shooting. In that case, the involved officers were
  26              not disciplined or retrained for their use of deadly force, and the
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                                   COMPLAINT FOR DAMAGES
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   1                  CITY found that the shooting was justified and did not violate any
   2                  CITY policy.
   3          92.     Additional and supporting evidence of the maintenance of
   4   unconstitutional customs, practices, or policies of DEFENDANT CITY can be
   5   found in a report commissioned by the City of Los Angeles and conducted by an
   6   Independent Counsel, released on or about March 11, 2021 (hereinafter,
   7   “Report”).2 The March 11, 2021 Report evaluates the late May 2020 and early
   8   June 2020 protests in Downtown Los Angeles and the LAPD’S handling of said
   9   protests. The Report indicates hundreds of injuries and alleged violations of rights
  10   by the LAPD officers occurred during protests such as the one participated in by
  11   PLAINTIFFS on May 30, 2020. The Report indicated among other things, a lack
  12   of training to properly prepare officers for managing large crowds. Further, the
  13   Report noted a lack of training on less than lethal force, and when it can and
  14   should be used in large crowds or gatherings. It noted many of the reported
  15   injuries were from less than lethal uses of force, and indicated the appropriateness
  16   of use of police batons was unable to be determined. At the time of injury these
  17   individuals had been involved in peaceful protests, were unthreatening, and many
  18   had their hands raised, and thereby not involved in any violent or hostile acts.
  19   Moreover, the Report indicated that there have been similar studies, findings, and
  20   legal actions in similar prior incidents with the LAPD over the years in regards to
  21   peaceful protests and the excessive and unreasonable use of force, including less
  22   lethal force, such as in 2000, 2007, 2011, and 2014.
  23          93.     DEFENDANT CITY has been made aware of its duties under the
  24   Constitution under several prior settlement agreements and consent judgements
  25   which identified unlawful customs, practices, and policies relating to the unlawful
  26   2
         See Gerald Chaleff, AN INDEPENDENT EXAMINATION OF THE LOS ANGELES POLICE DEPARTMENT 2020 PROTEST
  27   RESPONSE (March 11, 2021), https://int.nyt.com/data/documenttools/lapd-george-floyd-protests-
       report/ec6b2bf2056f6727/full.pdf (last visited March 30, 2021).
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                                           COMPLAINT FOR DAMAGES
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   1   uses of force against those who are lawfully assembled, as well as clearly
   2   established deficiencies in DEFENDANT CITY’S training of its LAPD officers in
   3   regards to the use of force in relation to protests. See National Lawyers Guild v.
   4   City of Los Angeles, CV 01-6877 FMC (CWx); see also Multi-Ethnic Immigrant
   5   Workers Organizing Network, et al. v. City of Los Angeles, et al., 2009 WL
   6   1043788 (C.D.Cal.); Case No.: CV 07-3072 AHM (FMMx).
   7         94.    Accordingly, DEFENDANT CITY and DOES 9-10, are liable to
   8   PLAINTIFFS for compensatory damages under 42 U.S.C. § 1983.
   9         95.    PLAINTIFFS seek damages for past and future pain and suffering
  10   including: impairment, emotional distress, mental anguish, embarrassment, past
  11   and future medical expenses under this claim. PLAINTIFFS also seek reasonable
  12   attorneys’ fees and costs under this claim.
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  14                             SIXTH CLAIM FOR RELIEF
  15                 Municipal Liability – Ratification (42 U.S.C. § 1983)
  16             (By PLAINTIFFS against CITY and DOES 9-10, inclusive)
  17         96.    PLAINTIFFS repeat and re-allege each and every allegation in
  18   paragraphs 1 through 95 of this Complaint with the same force and effect as if
  19   fully set forth herein.
  20         97.    DEFENDANTS DOES 1-8, inclusive, acted under color of law.
  21         98.    The acts of DEFENDANTS DOES 1-8, deprived PLAINTIFFS of
  22   their particular rights under the United States Constitution.
  23         99.    Upon information and belief, a final policymaker, acting under color
  24   of law, has a history of ratifying the unconstitutional response to peaceful protest
  25   and unreasonable uses of force, including deadly force.
  26         100. Upon information and belief, a final policymaker, acting under color
  27   of law, who had final policymaking authority concerning the acts of
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                                     COMPLAINT FOR DAMAGES
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   1   DEFENDANTS DOES 1-8’S, acts and the bases for them. Upon information and
   2   belief, the final policymaker knew of and specifically approved of
   3   DEFENDANTS DOES 1-8’S, acts.
   4         101. On information and belief, CITY final policymakers, including
   5   DOES 9-10, knew that PLAINTIFFS never presented a risk of harm to an officer
   6   or anyone else, including PLAINTIFF GOULD, and that PLAINTIFF GOULD
   7   complied with officers’ commands at the first moment he heard them.
   8         102. On information and belief, the official policies with respect to the
   9   incident are that officers are not to use deadly force against an individual unless
  10   the individual poses an immediate risk of death or serious bodily injury to the
  11   officers or others, or if the individual has inflicted death or serious bodily injury
  12   against someone or threatened to do so, the officers may use deadly force to
  13   prevent the individual’s escape. The officers’ actions deviated from these official
  14   policies because PLAINTIFF GOULD did not pose an immediate threat of death
  15   or serious bodily injury to the involved officers or anyone else.
  16         103. Upon information and belief, a final policymaker has determined that
  17   the acts of DOES 1-8 were “within policy.”
  18         104. The following are only a few examples of cases where the involved
  19   officers were not disciplined, reprimanded, retrained, suspended, or otherwise
  20   penalized in connection with the excessive use of force and underlying acts giving
  21   rise to the below lawsuits, which indicates that DEFENDANT CITY routinely
  22   ratifies such behavior:
  23                (a)    In Contreras v. City of Los Angeles, case number 2:11-cv-
  24                01480-SVW (SHx), a unanimous jury award for Mr. Contreras after
  25                finding that the involved LAPD officers used excessive and
  26                unreasonable force when they shot Mr. Contreras, who was unarmed.
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                                      COMPLAINT FOR DAMAGES
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   1              (b)   In P.C., et al. v. City of Los Angeles, case number CV 07-3413
   2              PLA, a unanimous jury award for plaintiffs after finding that the
   3              involved LAPD officers’ use of deadly force was excessive and
   4              unreasonable.
   5              (c)   In Herrera, et al. v. City of Los Angeles, et al., case number
   6              16-cv-02719-DSF (SHx), a unanimous jury award for plaintiffs after
   7              finding that the involved LAPD officer used excessive force against
   8              Ruben Herrera when he shot him.
   9              (d)   In Mears, et al. v. City of Los Angeles, et al., case number
  10              2:15-cv-08441-JAK-AJW, a unanimous jury found Monell liability
  11              on the part of the City for failure to properly train its LAPD officers,
  12              and found that the involved officers’ use of deadly force was
  13              excessive and unreasonable.
  14              (e)   In Hernandez, et al. v. City of Los Angeles, et al., case number
  15              2:16-cv-02689, a unanimous jury found that two LAPD officers used
  16              excessive unreasonable force and restraint against Alex Jimenez, who
  17              was unarmed.
  18              (f)   In L.D., et al. v. City of Los Angeles, case number 2:16-cv-
  19              04626-PSG, a unanimous jury found that certain officers used
  20              excessive and unreasonable force against Cesar Frias, including for
  21              the use of “less-lethal” weapons.
  22              (g)   In Navas, et al. v. City of Los Angeles, et al., case number
  23              CV15-09515 SVW(JCx), the City determined that the LAPD
  24              officer’s use of deadly force against Sergio Navas was excessive and
  25              unreasonable and outside City policy.
  26              (h)   In Medina v. City of Los Angeles, case number CV 06-4926-
  27              CBM (Ex), Plaintiff alleged that the involved LAPD officers used
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                                   COMPLAINT FOR DAMAGES
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   1                  excessive and unreasonable force when they kept Mr. Medina (the
   2                  decedent) down in a prone position while he was handcuffed and
   3                  hobbled and placed weight on his back and pressure on his neck for
   4                  an extended period of time. The medical examiner in that case
   5                  confirmed that Mr. Medina died as a result of restraint asphyxia. A
   6                  unanimous jury returned a verdict in Plaintiff’s favor, finding that the
   7                  use of force was excessive and unreasonable. In that case, the
   8                  involved officers were not disciplined or retrained for their use of
   9                  force, and the CITY found that the officer’s conduct was justified and
  10                  did not violate any CITY policy.
  11                  (i)     In Cano, et al. v. City of Los Angeles, case number 2:15-cv-
  12                  00333-JAK-E, currently pending in the United States District Court
  13                  for the Central District of California, the family of an unarmed man
  14                  (David Martinez) who was shot and killed by LAPD Rampart
  15                  officers alleges that the force used by the officers was excessive and
  16                  unreasonable. Police reports confirm that Mr. Martinez was unarmed
  17                  at the time of the shooting. In that case, the involved officers were
  18                  not disciplined or retrained for their use of deadly force, and the
  19                  CITY found that the shooting was justified and did not violate any
  20                  CITY policy.
  21          105. Additional and supporting evidence of the maintenance of
  22   unconstitutional customs, practices, or policies of DEFENDANT CITY can be
  23   found in a report commissioned by the City of Los Angeles and conducted by an
  24   Independent Counsel, released on or about March 11, 2021 (hereinafter,
  25   “Report”).3 The March 11, 2021 Report evaluates the late May 2020 and early
  26   3
         See Gerald Chaleff, AN INDEPENDENT EXAMINATION OF THE LOS ANGELES POLICE DEPARTMENT 2020 PROTEST
  27   RESPONSE (March 11, 2021), https://int.nyt.com/data/documenttools/lapd-george-floyd-protests-
       report/ec6b2bf2056f6727/full.pdf (last visited March 30, 2021).
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                                           COMPLAINT FOR DAMAGES
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   1   June 2020 protests in Downtown Los Angeles and the LAPD’S handling of said
   2   protests. The Report indicates hundreds of injuries and alleged violations of rights
   3   by the LAPD officers occurred during protests such as the one participated in by
   4   PLAINTIFFS on May 30, 2020. The Report indicated among other things, a lack
   5   of training to properly prepare officers for managing large crowds. Further, the
   6   Report noted a lack of training on less than lethal force, and when it can and
   7   should be used in large crowds or gatherings. It noted many of the reported
   8   injuries were from less than lethal uses of force, and indicated the appropriateness
   9   of use of police batons was unable to be determined. At the time of injury these
  10   individuals had been involved in peaceful protests, were unthreatening, and many
  11   had their hands raised, and thereby not involved in any violent or hostile acts.
  12   Moreover, the Report indicated that there have been similar studies, findings, and
  13   legal actions in similar prior incidents with the LAPD over the years in regards to
  14   peaceful protests and the excessive and unreasonable use of force, including less
  15   lethal force, such as in 2000, 2007, 2011, and 2014.
  16         106. DEFENDANT CITY has been made aware of its duties under the
  17   Constitution under several prior settlement agreements and consent judgements
  18   which identified unlawful customs, practices, and policies relating to the unlawful
  19   uses of force against those who are lawfully assembled, as well as clearly
  20   established deficiencies in DEFENDANT CITY’S training of its LAPD officers in
  21   regards to the use of force in relation to protests. See National Lawyers Guild v.
  22   City of Los Angeles, CV 01-6877 FMC (CWx); see also Multi-Ethnic Immigrant
  23   Workers Organizing Network, et al. v. City of Los Angeles, et al., 2009 WL
  24   1043788 (C.D.Cal.); Case No.: CV 07-3072 AHM (FMMx).
  25         107. By reason of the aforementioned acts and omissions, DEFENDANTS
  26   CITY and DOES 9-10, are liable to PLAINTIFFS for compensatory damages
  27   under 42 U.S.C. § 1983.
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                                     COMPLAINT FOR DAMAGES
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   1         108. PLAINTIFFS seek damages for past and future pain and suffering
   2   including: impairment, emotional distress, mental anguish, embarrassment, past
   3   and future medical expenses under this claim. PLAINTIFFS also seek reasonable
   4   attorneys’ fees and costs under this claim.
   5
   6                             SEVENTH CLAIM FOR RELIEF
                Battery (Cal. Govt. Code § 820 and California Common Law)
   7
           (By PLAINTIFF GOULD Against DEFENDANTS CITY and DOES 1-8)
   8
             109. PLAINTIFFS repeat and reallege each and every allegation in
   9
       paragraphs 1 through 108 of this Complaint with the same force and effect as if
  10
       fully set forth herein.
  11
             110. At all relevant times, DEFENDANT DOES 1-8 were working as
  12
       police officers for the LAPD and were acting within the course and scope of their
  13
       duties as police officers for the CITY.
  14
             111. At or around the cross streets of Fairfax and Third, in Los Angeles,
  15
       California, PLAINTIFF GOULD arrived to pick up his daughter, M.M.G. from
  16
       the peaceful protest. LAPD officers had already arrived and gathered around the
  17
       peaceful protestors, including where PLAINTIFFS M.M.G. and GOULD were
  18
       standing.
  19
             112. At all relevant times, LAPD never advised PLAINTIFFS or the
  20
       peaceful gathering that such a gathering was unlawful.
  21
             113. At the time of their arrival at or near the intersection of Fairfax and
  22
       Third Streets in downtown Los Angeles, the LAPD officers, including
  23
       DEFENDANT DOES 1-8 began instructing the peaceful protesters to back up, but
  24
       immediately as they were instructing them to back up, DEFENDANT DOES 1-8
  25
       began quickly advancing, batons raised, and striking PLAINTIFF GOULD.
  26
       PLAINTIFFS and other peaceful protestors were in the process of complying with
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                                     COMPLAINT FOR DAMAGES
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   1   DEFENDANT DOES 1-8’S requests, and PLAINTIFF GOULD was taking steps
   2   backwards, with his hands raised.
   3         114. As DEFENDANT DOES 1-8 continued to press their assault line
   4   forward, at least two male LAPD officers advanced more quickly and began using
   5   their batons against PLAINTIFF GOULD, without justification and striking him
   6   numerous times, causing injuries to his legs. PLAINTIFF GOULD fell to the
   7   ground in severe pain, but DEFENDANT DOES 1-8 continued to strike him.
   8         115. As a direct and proximate result of the conduct of DEFENDANT
   9   DOES 1-8 as alleged above, PLAINTIFF GOULD suffered serious physical
  10   injuries as a result of being hit multiple times with the police baton(s).
  11         116. DEFENDANT DOES 1-8 had no legal justification for using force
  12   against PLAINTIFF GOULD, and said DEFENDANT DOES 1-8’S use of force
  13   while carrying out their duties as police officers was an unreasonable use of force,
  14   particularly because PLAINTIFF GOULD did not pose an immediate threat to the
  15   life of any individual, including any officer, at the time of the use of excessive
  16   force against him, PLAINTIFF GOULD was also not armed at all relevant times,
  17   and because PLAINTIFF GOULD was complying with DEFENDANT DOES 1-
  18   8’S orders, hands raised in a sign of compliance.
  19         117. The CITY is vicariously liable for the wrongful acts of
  20   DEFENDANT DOES 1-8 pursuant to section 815.2(a) of the California
  21   Government Code, which provides that a public entity is liable for the injuries
  22   caused by its employees within the scope of the employment if the employee’s act
  23   would subject him or her to liability.
  24         118. The conduct of DEFENDANT DOES 1-8 was malicious, wanton,
  25   oppressive, and accomplished with a conscious disregard for the rights of
  26   PLAINTIFF GOULD, entitling PLAINTIFF GOULD to an award of exemplary
  27   and punitive damages, which PLAINTIFF GOULD seeks under this claim.
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                                      COMPLAINT FOR DAMAGES
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   1         119. PLAINTIFF GOULD seeks damages for his past and future pain and
   2   suffering including: impairment, emotional distress, mental anguish,
   3   embarrassment, past and future medical expenses under this claim. PLAINTIFF
   4   GOULD also seeks reasonable attorneys’ fees and costs under this claim.
   5
   6                             EIGHTH CLAIM FOR RELIEF
   7          Negligence (Cal. Govt. Code § 820 and California Common Law)
   8                  (By PLAINTIFF GOULD against all DEFENDANTS)
   9         120. PLAINTIFFS repeat and reallege each and every allegation in
  10   paragraphs 1 through 119 of this Complaint with the same force and effect as if
  11   fully set forth herein.
  12         121. The actions and inactions of Defendants were negligent and reckless,
  13   including but not limited to:
  14                a)      DEFENDANT DOES 1-8’S failure to constitutionally respond
  15                to PLAINTIFFS’ peaceful protest.
  16                b)      DEFENDANT DOES 1-8’S failure to properly and adequately
  17                assess the need to use force against PLAINTIFF GOULD.
  18                c)      DEFENDANT DOES 1-8’S negligent tactics and handling of
  19                the situation with PLAINTIFF GOULD, including the failure to give
  20                PLAINTIFF GOULD a warning prior to force being used.
  21                d)      DEFENDANT DOES 1-8’S negligent use of force against
  22                PLAINTIFF GOULD.
  23                e)      The failure to properly train and supervise employees,
  24                including DEFENDANT DOES 1-8.
  25                f)      The failure to ensure that adequate numbers of employees with
  26                appropriate education and training were available to meet the needs
  27                of and protect the rights of PLAINTIFFS.
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                                       COMPLAINT FOR DAMAGES
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   1         122. As a direct and proximate result of Defendants’ conduct as alleged
   2   above, and other undiscovered negligent conduct, PLAINTIFF GOULD suffered
   3   physical injuries, past and future emotional and mental distress, and past and
   4   future medical expenses.
   5         123. The CITY is vicariously liable for the wrongful acts of
   6   DEFENDANT DOES 1-10 pursuant to section 815.2(a) of the California
   7   Government Code, which provides that a public entity is liable for the injuries
   8   caused by its employees within the scope of the employment if the employee’s act
   9   would subject him or her to liability.
  10         124. PLAINTIFF GOULD seeks damages for his past and future pain and
  11   suffering including: impairment, emotional distress, mental anguish,
  12   embarrassment, past and future medical expenses under this claim. PLAINTIFF
  13   GOULD also seeks reasonable attorneys’ fees and costs under this claim.
  14
  15                             NINTH CLAIM FOR RELIEF
  16                   Violation of the Bane Act (Cal. Civil Code § 52.1)
  17                  (By PLAINTIFF GOULD against all DEFENDANTS)
  18         125.    PLAINTIFFS repeat and reallege each and every allegation in
  19   paragraphs 1 through 124 of this Complaint with the same force and effect as if
  20   fully set forth herein.
  21         126.    California Civil Code, Section 52.1 (the Bane Act), prohibits any
  22   person from using violent acts or threatening to commit violent acts in retaliation
  23   against another person for exercising that person’s constitutional rights. An intent
  24   to violate a person’s civil rights can be inferred by a reckless disregard for the
  25   person’s civil rights.
  26         127. DEFENDANT DOES 1-8, while working for the CITY and acting
  27   within the course and scope of their duties as police officers, intentionally
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   1   committed, and attempted to commit acts of violence against PLAINTIFF
   2   GOULD, including repeatedly hitting him with their batons without justification
   3   or excuse.
   4             128. When DEFENDANT DOES 1-8 hit PLAINTIFF GOULD with the
   5   hard rubber batons, even after he fell to the ground injured, they interfered with
   6   PLAINTIFF GOULD’S constitutional rights to be free from unreasonable
   7   searches and seizures, to equal protection of the laws, and to be free from state
   8   actions that shock the conscience, and to life, liberty, and property.
   9             129. On information and belief, DEFENDANT DOES 1-8 intentionally
  10   and spitefully committed the above acts to discourage PLAINTIFF GOULD from
  11   exercising his civil rights, to retaliate against him for invoking such rights, or to
  12   prevent him from exercising such rights, which he was and is fully entitled to
  13   enjoy. DEFENDANT DOES 1-8 intentionally interfered with the above
  14   constitutional rights of PLAINTIFF GOULD, and as alleged herein, which can be
  15   demonstrated by DEFENDANT DOES 1-8’S reckless disregard for PLAINTIFF
  16   GOULD’S constitutional rights.
  17             130. On information and belief, PLAINTIFF GOULD reasonably believed
  18   and understood that the violent acts committed by DEFENDANT DOES 1-8 were
  19   intended to discourage him from exercising the above civil rights, to retaliate
  20   against him for invoking such rights, or to prevent him from exercising such
  21   rights.
  22             131.   The conduct of DEFENDANT DOES 1-8 was a substantial factor in
  23   causing PLAINTIFF GOULD’S harms, losses, injuries, and damages.
  24             132. The CITY is vicariously liable for the wrongful acts of
  25   DEFENDANT DOES 1-8 pursuant to section 815.2(a) of the California
  26   Government Code, which provides that a public entity is liable for the injuries
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                                       COMPLAINT FOR DAMAGES
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   1   caused by its employees within the scope of the employment if the employee’s act
   2   would subject him or her to liability.
   3         133. DEFENDANT DOES 9-10 are vicariously liable under California
   4   law and the doctrine of respondeat superior.
   5         134. DEFENDANT DOES 1-8’S conduct was malicious, wanton,
   6   oppressive, and accomplished with a conscious disregard for PLAINTIFF
   7   GOULD’S rights, justifying an award of exemplary and punitive damages as to
   8   DEFENDANT DOES 1-8.
   9         135. PLAINTIFF GOULD seeks compensatory damages for the violations
  10   of his rights, including for his past and future pain and suffering including:
  11   impairment, emotional distress, mental anguish, embarrassment, past and future
  12   medical expenses. PLAINTIFF GOULD also seeks punitive damages, costs, and
  13   attorney’s fees, including a multiplier, under California Civil Code Section 52 et
  14   seq. as to this claim.
  15
  16                            TENTH CLAIM FOR RELIEF
  17                                Negligence-Bystander
  18             (By Plaintiff M.M.G. against Defendants CITY and DOES 1-8)
             136. Plaintiffs repeat and re-allege each and every allegation in paragraphs
  19
       1 through 135 of this Complaint with the same force and effect as if fully set forth
  20
       herein.
  21
             137. DEFENDANT DOES 1-8, while working as police officers for the
  22
       City of Los Angeles and while acting within the course and scope of their duties,
  23
       negligently and carelessly inflicted severe emotional distress on PLAINTIFF
  24
       M.M.G. when they intentionally and repeatedly hit and beat PLAINTIFF GOULD
  25
       with their police batons in the presence of PLAINTIFF M.M.G.
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   1         138. PLAINTIFF M.M.G. was present at or near the scene of the incident
   2   when the use of the police batons against her father, PLAINTIFF GOULD
   3   occurred. PLAINTIFF M.M.G. was aware of the fact PLAINTIFF GOULD was
   4   being injured at the time of the beating and other uses of force against her father.
   5         139. As a direct and proximate cause of DEFENDANT DOES 1-8’S
   6   conduct, PLAINTIFF M.M.G. was caused to suffer severe emotional distress,
   7   including but not limited to anxiety, anguish, humiliation, and other injuries to her
   8   nervous system.
   9         140. PLAINTIFF M.M.G. is the natural daughter of PLAINTIFF
  10   GOULD.
  11         141. PLAINTIFF M.M.G. brings this claim in her individual capacity and
  12   seeks compensatory damages for her severe emotional distress as a result of
  13   observing the negligent use of force against her father, PLAINTIFF GOULD.
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                                      COMPLAINT FOR DAMAGES
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   1                               PRAYER FOR RELIEF
   2        WHEREFORE, PLAINTIFFS M.M.G., by and through her Guardian ad
   3   litem James K. Sadigh, and MARK GOULD, request entry of judgment in their
   4   favor against CITY OF LOS ANGELES and DOES 1-10, inclusive, as follows:
   5        1.    For compensatory damages, according to proof at trial, under federal
   6              and State law.
   7        2.    For punitive and exemplary damages against the individual defendants
   8              in an amount to be proven at trial.
   9        3.    For statutory damages.
  10        4.    For reasonable attorneys’ fees including litigation expenses.
  11        5.    For costs of suit and interest incurred herein.
  12        6.    For such other and further relief as the Court may deem just and proper.
  13
  14   DATED: May 4, 2021             LAW OFFICES OF DALE K. GALIPO
  15
  16                                  By:    /s/   Dale K. Galipo
                                             Dale K. Galipo
  17                                         Attorney for Plaintiffs
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                                    COMPLAINT FOR DAMAGES
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   1                              DEMAND FOR JURY TRIAL
   2             PLAINTIFFS hereby submit this demand that this action be tried in front of
   3   a jury.
   4
   5   DATED: May 4, 2021                LAW OFFICES OF DALE K. GALIPO
   6
   7                                     By:    /s/   Dale K. Galipo
                                                Dale K. Galipo
   8                                            Attorney for Plaintiffs
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                                       COMPLAINT FOR DAMAGES
